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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF INDIANA
                                 INDIANAPOLIS DIVISION

April Craig,                         )
                                     )
              Plaintiff,             )
                                     )
       vs.                           ) Case No.:1:17-cv-3149-RLY-DML
                                     )
Credit Protection Association, L.P., )
                                     )
              Defendant.             )
____________________________________)_____________________________________


                           ORDER OF DISMISSAL WITH PREJUDICE

       Pursuant to the Joint Stipulation of Dismissal with Prejudice filed by the Parties in this

cause, this cause of action is hereby dismissed with prejudice, with each party to bear their own

attorney fees and costs.




 12/12/2017
_____________                                       _______________________________
Date                                                Judge
                                                    United States District Court
                                                    Southern District of Indiana



ECF notification:

Copies to electronically registered counsel of record.
